     Case 4:13-cr-00298 Document 121 Filed on 04/28/14 in TXSD Page 1 of 9




                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

UNITED STATES OF AMERICA                            §
                                                    §
v.                                                  §            CRIMINAL ACTION H-13-298
                                                    §
HAROLD JOSEPH CARMOUCHE , et al.                    §


                                MEMORANDUM OPINION AND ORDER

       Pending before the court are Kenton Deon Harrell (“Harrell”) and Harold Joseph

Carmouche’s (“Carmouche”) motions to sever (Dkts. 99, 101) and Harrell’s motion to suppress (Dkt.

100).1 The court will continue to take the motions to sever under advisement; however, after

considering the evidence, parties’ arguments, and applicable law, the court is of the opinion that

Harrell’s motion to suppress (Dkt. 100) should be DENIED.

                                           I. BACKGROUND

       Five defendants: (1) Harold Joseph Carmouche; (2) Kenneth Shane Howard; (3) Malcolm

Derrail Williams; (4) Charles Ray Blake; and (5) Kenton Deon Harrell were charged in a two count

indictment alleging conspiracy to interfere with commerce by robbery, 18 U.S.C. § 1951(a), and

conspiracy to use or carry a firearm during and in relation to a crime of violence, 18 U.S.C. § 924(o).

Defendants allegedly conspired to rob a U.S. Postal vehicle on February 21, 2013. Specifically, a

U.S. Postal vehicle was departing the downtown Houston Post Office. According to the driver of

the postal vehicle, a red Chevrolet Impala pulled in front of his vehicle and blocked his path. After

the vehicles stopped, a black male, wearing a face mask and carrying a pistol exited the Impala,

ordered the driver from the vehicle, entered the vehicle, and both the Impala and the postal vehicle



       1
           Charles Ray Blake moved to join in these motions (Dkt. 108); however, he has since pled guilty.
     Case 4:13-cr-00298 Document 121 Filed on 04/28/14 in TXSD Page 2 of 9




drove away. The postal vehicle was recovered a few hours later several miles away from the location

of the robbery. The merchandise in the vehicle was stolen, including $240,000 worth of Rolex

watches.

       Harrell filed a motion to suppress all written and oral statements made by him to Postal

Inspectors in this case, arguing that his statements were made involuntarily. Dkt. 100. Harrell and

Carmouche also filed motions to sever their respective trials from those of their co-defendants. Dkts.

99, 101. Blake has since pled guilty, and Howard and Williams have also expressed their intent to

plead guilty. The court held a hearing on April 4, 2014 and heard testimony and arguments from the

parties regarding the motions to suppress and sever. Postal Inspector Devin Mowrey, the lead

investigator, testified on behalf of the government. He testified regarding the various statements

taken from the defendants in this case.

       Relevant to the motion to suppress, Inspector Mowrey testified that he had received

information that Harrell was at a meeting on the day of or on the day before the robbery where the

robbery was discussed among the conspirators. On April 3, 2013, he asked Harrell to meet him at

a local Denny’s restaurant in order to discuss the investigation of the robbery. Harrell agreed to meet

with the Inspector. Harrell traveled to the Denny’s restaurant on his own accord. Inspector Mowrey

and his partner, Inspector Boyd, questioned Harrell about the facts they had gathered during their

investigation. Inspector Mowrey stated that during the interview the facts known to the Inspectors

were presented to Harrell, and he was given an opportunity to explain the information or provide his

version of the events. They told him that he was involved in their investigation of the robbery, but

did not tell him that anyone had implicated him as being a participant in the robbery. Inspector




                                                  2
     Case 4:13-cr-00298 Document 121 Filed on 04/28/14 in TXSD Page 3 of 9




Mowrey testified that he told Harrell he knew he was at the meeting where Howard, Williams, and

Carmouche planned the robbery.

       Inspector Mowrey did not say to Harrell whether he believed Harrell was merely present at

the planning meeting or a participant in the meeting and robbery. Inspector Mowrey told Harrell that

“it is better to be a witness than a defendant, and to tell us the truth.” He implied there was value

in being a witness, but explained that all charging decisions were made by the U.S. Attorney’s

Office. Harrell confirmed he was at the planning meeting. Inspector Mowrey testified that Harrell

was not a target of the investigation at this time. This first interview lasted approximately 30

minutes, and Harrell left the restaurant. Harrell was not read his Miranda rights and was not placed

into custody.

       Inspectors Mowrey and Boyd had another meeting with Harrell and Charles Blake at a

Denny’s restaurant in April. Inspector Mowrey requested the interview with Harrell and told him

that he needed to continue to cooperate and that it was better to cooperate. Harrell agreed to go to

the Denny’s to be interviewed. The second meeting was held to gain further details about the

information provided by Harrell during their first meeting. Inspector Mowrey did not recall if he told

Harrell that it was better to be a witness, than a defendant during this interview. The Inspector

relayed to Harrell that he only believed Harrell was involved in this investigation, and he was not

a target. Harrell was not read his Miranda rights, and he was not taken into custody.

       Inspector Mowrey still viewed Harrell as a potential witness, and he expressed this belief to

the Assistant U.S. Attorney in charge of the case. Inspector Mowrey had no other in-person meetings

with Harrell in the interval between April and November, but only a few telephone conversations.




                                                  3
     Case 4:13-cr-00298 Document 121 Filed on 04/28/14 in TXSD Page 4 of 9




Inspector Mowrey discussed with Harrell the prospect of testifying at trial as a witness. By

November 2013, Carmouche, Williams, and Howard had been indicted and arrested.

       On November 13, 2013, Inspector Mowrey asked Harrell to come down to the Postal

Inspector’s Office to take a polygraph examination in order to test his veracity as a witness.

Inspector Mowrey believed that Harrell was not telling him the complete truth or that certain

information was being withheld by Harrell. Harrell agreed to undergo a polygraph examination and

came to the Postal Inspector’s Office by his own transportation. Harrell was read his Miranda rights

by the polygrapher, and the polygrapher explained that providing the Miranda rights was standard

protocol for all persons being given a polygraph. Harrell signed the waiver of his Miranda rights,

took the polygraph examination, and provided another statement to Inspector Mowrey. This

encounter lasted approximately 3-4 hours.

       Inspector Mowrey testified that the polygraph results revealed that Harrell had not been

completely truthful about the robbery or he was withholding information. During the interview,

Harrell asked Inspector Mowrey if he was in trouble, and the Inspector responded it was up to the

U.S. Attorney’s Office. Harrell was indicted on December 12, 2013 and arrested days later. Harrell

now moves to suppress all of his statements to Postal Inspectors on the basis that Inspector

Mowrey’s direct and indirect statements that he would be a witness rendered the statements

involuntary.

                                      II. LEGAL STANDARD

       The Government bears the burden of proving, by a preponderance of the evidence, that the

statements made during an interrogation were voluntary. United States v. Rojas–Martinez, 968 F.2d

415, 417–18 (5th Cir. 1992) (citing Colorado v. Connelly 479 U.S. 157, 168–69, 107 S. Ct. 515


                                                 4
     Case 4:13-cr-00298 Document 121 Filed on 04/28/14 in TXSD Page 5 of 9




(1986)). The voluntariness of a defendant’s statement is reviewed based on the totality of the

circumstances surrounding the interrogation. Dickerson v. United States, 530 U.S. 428, 437, 120

S. Ct. 2326 (2000); United States v. Cardenas, 410 F.3d 287, 293 (5th Cir. 2005). When reviewing

the totality of the circumstances, both the characteristics of the accused and details of the

interrogation should be considered. Dickerson, 530 U.S. at 434. “A confession is voluntary if,

under the totality of the circumstances, the statement is the product of the accused’s free and rational

choice.” United States v. Broussard, 80 F.3d 1025, 1033 (5th Cir. 1996).

        To render a confession involuntary, a defendant must demonstrate that law enforcement

officers engaged in coercive conduct and that there was a causal link between the officer’s coercive

conduct and the confession. United States v. Bell, 367 F.3d 452, 461 (5th Cir. 2004) (citing Connelly,

479 U.S. at 163–65). Coercive conduct refers not only to physical violence but also to other

deliberate means calculated to break the defendant’s will, including direct or subtle forms of

psychological persuasion. Broussard, 80 F.3d at 1034. The Fifth Circuit has been careful to note

that “coercive police activity is a necessary predicate to the finding that a confession is not

‘voluntary’ within the meaning of the Due Process Clause of the Fourteenth Amendment.” United

States v. Reynolds, 367 F.3d 294, 298 (5th Cir. 2004). The court must examine “‘whether a

defendant’s will was overborne by the circumstances surrounding the giving of [an incriminating

statement].” Dickerson, 530 U.S. at 434 (citation omitted).

                                           III. ANALYSIS

        Harrell argues that he was induced into giving statements to Postal Inspectors by Inspector

Mowrey’s representations that he was not a target of the robbery investigation and that he was only

being interviewed as a witness. He claims that his statements were rendered involuntary based on


                                                   5
      Case 4:13-cr-00298 Document 121 Filed on 04/28/14 in TXSD Page 6 of 9




the circumstances surrounding the interviews and the impressions left by Inspector Mowrey with

Harrell regarding his status in the investigation. Certain indirect or implied promises of leniency or

immunity may be “so attractive they render a resulting confession involuntary” if the promise is not

kept. United States v. Fernandes, 285 Fed. Appx. 119, 124 (5th Cir. 2008) (quoting Streetman v.

Lynaugh, 812 F.2d 950, 957 (5th Cir. 1987)). However, “a confession is not involuntary merely

because the suspect was promised leniency if he cooperated with law enforcement officials.” United

States v. Santiago, 410 F.3d 193, 202 (5th Cir. 2005). The existence of a promise constitutes but one

factor in the voluntariness determination and “does not render a confession involuntary per se.”

Fernandes, 285 Fed. Appx. at 124 (citing Hawkins v. Lynaugh, 844 F.2d 1132, 1140 (5th Cir.

1988)).

          Here, the court credits the testimony of Inspector Mowrey2 and finds that Harrell was not

promised any sort of leniency or immunity, which under the totality of the circumstances, would

render his statements involuntary. Based on the testimony of Inspector Mowrey, Harrell willingly

attended, traveling to and from by his own means, three personal interviews with Inspector Mowrey.

The encounters were not particularly lengthy, two interviews were conducted at a public restaurant,

and Harrell was informed that he was free to leave at any time. He was not in custody during any

of the interviews.


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            Harrell did not testify at the suppression hearing, but following the hearing, submitted an affidavit
in support of his motion to suppress. Dkt. 114. The court views Harrell’s affidavit as self-serving and gives
it little weight. Harrell has a constitutional right to choose not to testify; however, “he cannot use that right
as shield to protect him from potential criminal liability while concomitantly wielding his affidavit[ ] as a
sword to cast doubt on testimony found credible by the court as fact-finder.” DiMattina v. United States,
949 F. Supp. 2d 387, 410-11 (E.D.N.Y. 2013) (citing A.B. Leach & Co. v. Peirson, 275 U.S. 120, 128, 48 S.
Ct. 57 (1927)); see also United States v. Rodriguez, 368 Fed.Appx. 178, 180 (2d Cir. 2010) (“Although
defendant submitted an affidavit . . . it was not clearly erroneous for the District Court to credit the officers’
testimony over defendant’s affidavit.” (citation omitted)).

                                                        6
     Case 4:13-cr-00298 Document 121 Filed on 04/28/14 in TXSD Page 7 of 9




       With regard to Inspector Mowrey’s direct or indirect implications that Harrell would only be

a witness in this case, Inspector Mowrey’s testimony confirms that Harrell was thought of and

expected to be a witness on behalf of the government until the point the polygraph examination

revealed he had been untruthful. Inspector Mowrey testified that he did tell Harrell that it was better

to be a witness than a defendant and there was some value in being a witness. However, Inspector

Mowrey also advised Harrell more than once that the U.S. Attorney’s Office retained the ultimate

decision on whether or not he would be charged in connection with the robbery and that the

statements being made by Harrell were being provided to the U.S. Attorney’s Office. And, despite

the lack of any custodial interrogation, he was read and waived his Miranda rights during the final

interview. These warnings accurately informed him that his statements could be used against him,

and based upon Harrell’s experience with law enforcement, the court does not find that he was

unable to understand these warnings. See Bell, 367 F.3d at 461 (trickery or deceit is only prohibited

to the extent that it deprives the defendant of knowledge essential to his ability to understand the

nature of his rights and the consequences of abandoning them).

       Inspector Mowrey’s statements that Harrell was not a target and that it would be better to be

a witness were not promises of leniency or immunity.              See Cardenas, 410 F.3d at 295

(encouragement to cooperate with the government as a witness not held to constitute coercion). At

all times prior to the polygraph examination, Harrell was viewed and treated by the Inspector as a

witness. Thus, there was no misrepresentation or deception on the part of the Inspectors by taking

this position. Ultimately, it was the false or withheld information that changed Harrell’s status in

the investigation from witness to target.




                                                  7
     Case 4:13-cr-00298 Document 121 Filed on 04/28/14 in TXSD Page 8 of 9




       The Fifth Circuit considered a similar case in United States v. Fernandes. 285 Fed. Appx.

119 (5th Cir. 2008). In Fernandes, the police officers initiated a “knock-and-talk” at the suspect’s

residence related to information that the defendant was selling drugs from his apartment. Id. at 121.

The officer told defendant “I don’t want you to get in any trouble. That’s not why I’m here . . . if I

can respond to this complaint and say I’ve spoke to [defendant], and he gave me the bong, and I went

away, then we’re over with it, okay.” Id. The officers eventually gained access to the defendnat’s

apartment and observed other paraphernalia used to distribute drugs. Id. at 122. At that point,

defendant was placed under arrest. Id.

       Fernandes argued that his statements should be suppressed because the officers extracted his

incriminatory statements by making promises that the incident would be “over with” if he produced

his bong. Id. at 124. The Fifth Circuit affirmed the district court’s rejection of this argument. The

court found the officer’s statement did not, when viewed in the context of the entire encounter,

render defendant’s statements involuntary. Id. at 125. The statement was “at most an implication

of leniency,” and was merely a “prediction of future events, rather than an explicit promise.” Id. at

124-25. “[I]ndirect promises do not have the potency of direct promises.” Id. at 124 (quoting

Hawkins, 844 F.2d at 1140). Additionally, as found by the district court, the statement by the officer

was likely true when he told the suspect to give him the bong and then the incident would be “over

with.” Id. at 124. Had only a bong resulted from the consensual encounter, then the officers likely

would have terminated the encounter. Id. Thus, no explicit promises of leniency were found based

on the officer’s statement. Id.

       Like the statement in Fernandes, Inspector Mowrey did not make any explicit promises of

immunity to Harrell. The Inspector did not tell Harrell that he would not be indicted and did not use


                                                  8
     Case 4:13-cr-00298 Document 121 Filed on 04/28/14 in TXSD Page 9 of 9




trickery or deception to secure Harrell’s statements. In fact, Inspector Mowrey’s statements that

implied Harrell was being questioned as a witness were true when made. Harrell had not been a

target of the investigation, and before receiving confirmation that Harrell was not being completely

truthful, the Inspector believed Harrell would be a witness on behalf of the government. The

implication was not that the defendant would be immune from prosecution, but rather that the

defendant would not face prosecution so long as his account of the event proved true. Therefore,

based on the totality of the circumstances, the court does not find that Harrell’s will was overborne

by the Inspector’s interrogation tactics such that his statements were rendered involuntary.

                                        IV. CONCLUSION

       Because the court finds that Harrell’s statements were given voluntarily, the court DENIES

Harrell’s motion to suppress. Dkt. 100. The court will continue to take the motions to sever (Dkts.

99, 101) under advisement.

       It is so ORDERED.

       Signed at Houston, Texas on April 28, 2014.




                                                                  Gray H. Miller
                                                            United States District Judge




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